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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-03384-PAB-MEH

  PUBLIC INTEREST LEGAL FOUNDATION, INC.,

          Plaintiff,

  v.

  JENA GRISWOLD, in her official capacity as
  Secretary of State for the Colorado,

          Defendant.

   REPLY IN SUPPORT OF PARTIALLY UNOPPOSED MOTION TO CONTINUE STAY
                     OF DISCOVERY AND DISCLOSURES

          Defendant Jena Griswold, in her official capacity as Colorado Secretary of State, submits

  this Reply in support of her partially unopposed motion that the Court continue the current stay

  of discovery and initial disclosures [Doc. 31] pending resolution of the Secretary’s fully briefed

  motion to dismiss.

                                            ARGUMENT

          Plaintiff does not analyze the five String Cheese factors governing stays of discovery in

  this district. See Doc. 35; String Cheese Incident, LLC v. Stylus Shows, Inc., No. 05-cv-01934-

  LTB-PAC, 2006 WL 894955, *2 (D. Colo. March 30, 2006). Instead, Plaintiff offers three brief

  arguments against continuing the current stay of discovery and disclosures. None merits lifting

  the stay.
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                 A.      Plaintiff identifies no specific prejudice it will suffer if
                         the stay is continued.

         First, Plaintiff asserts that its interest in “election transparency” exists now and will exist

  “beyond this year’s elections.” Doc. 35 at 1. According to Plaintiff, certain Colorado cities will

  hold municipal elections in 2023, which may occur “without complete transparency” if the stay

  of discovery continues. Id. But Plaintiff’s generalized interest in election transparency does not

  amount to prejudice under the String Cheese analysis. Plaintiff must identify specific prejudice

  resulting from a stay of discovery in this case, such as evidence loss or spoliation, for the first

  String Cheese factor to weigh in its favor. See, e.g., McGettigan v. Di Mare, No. 15-cv-00097-

  PAB-KLM, 2015 WL 3636582, at *3 (D. Colo. June 11, 2015) (granting stay and rejecting

  plaintiff’s argument where plaintiff did “not offer any information to support the conclusion that

  witness testimony or other evidence in this case may be impacted by a stay.”); Burke v. Alta

  Colls., Inc., No. 11-cv-02990-WYD-KLM, 2012 WL 502271, at *2 (D. Colo. Feb. 15, 2012)

  (granting stay and rejecting plaintiff’s “generalized arguments” and “conclusory assertions”

  regarding prejudice). Plaintiff makes no such showing here. 1

         The lack of prejudice to Plaintiff is further confirmed by its prior consent last February to

  a six-month stay of discovery. See Doc. 14, certificate of conferral. While Plaintiff now asserts it

  has an interest in election transparency for certain upcoming municipal elections, that alleged



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    Nor is loss of evidence likely to occur. The Secretary of State has implemented a litigation hold
  in this case to preserve evidence. See Ex. A (declaration attesting to litigation hold); Edwards v.
  Zenimax Media, Inc., No. 12-cv-00411-WYD-KLM, 2012 WL 1801981, at *2 (D. Colo. May 17,
  2012) (finding first String Cheese factor weighed in favor of a stay where defendants
  implemented a litigation hold).
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  interest no doubt existed last February. Like several other states, Colorado held its statewide

  primary election earlier this summer. See § 1-4-101(1), C.R.S. (2021) (prescribing date for

  primary election as “the last Tuesday in June of even-numbered years”). Plaintiff was no doubt

  aware of Colorado’s June primary election but nonetheless consented to a six-month stay of

  discovery that covered the entire summer. Plaintiff’s change of heart now may reflect a shift in

  its litigation strategy but it does not amount to prejudice under the first String Cheese factor.

                  B.     The burdens of discovery imposed on the Secretary and
                         non-parties are real, not speculative.

          Second, Plaintiff contends that the burden and expense of discovery discussed by the

  Secretary is speculative and that this district’s general policy is not to stay discovery pending a

  ruling on a motion to dismiss. Doc. 35 at 2 (citing Chavez v. Young Am. Ins. Co., No. 06-cv-

  02419-PSF-BNB, 2007 WL 683973 (D. Colo. March 2, 2007)). Plaintiff’s argument is misplaced

  for multiple reasons. For one, Plaintiff overstates this district’s general policy; the Court

  regularly grants stays of discovery based on the String Cheese factors where, as here, a

  dispositive motion may fully resolve the case. See, e.g., Thornton v. Davita Healthcare Partners,

  Inc., No. 13-cv-00573-RBJ-KMT, 2013 WL 5567560, at *2 (D. Colo. Oct. 8, 2013) (granting

  stay and stating “despite this District’s general policy disfavoring a complete stay of

  proceedings, a stay may be appropriate if resolution of a preliminary motion may dispose of the

  entire action.”).

          For another, the burdens of discovery raised by the Secretary are real, not speculative.

  The Secretary accurately summarized the discovery that will need to take place based on

  Plaintiff’s complaint allegations if discovery moves forward. This includes third-party discovery
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  from several non-parties, including multiple individuals, a multi-state member organization

  (ERIC), and experts. See Doc. 31 at 4-6. Plaintiff’s recent request to file a sur-reply has deepened

  further the discovery that may be necessary, possibly requiring discovery from yet another third

  party—the Center for Election Innovation and Research. See Doc. 29-1. The burden and expense

  of such discovery will be wasted if the Court ultimately grants the Secretary’s motion to dismiss.

  See Chung v. Lamb, No. 14-cv-03244-WYD-KLM, 2015 WL 6437948, at *2 (D. Colo. Oct. 23,

  2015) (granting stay where discovery efforts would be “wasteful if the Senior Judge grants the

  Motion to Dismiss”); Thornton, 2013 WL 5567560, at *2 (granting stay where the “requested

  discovery may ultimately be useless and a waste of the parties’ time and resources”).

         Last, the authority relied on by Plaintiff, Chavez, does not preclude a stay of discovery

  here. In Chavez, the magistrate judge was concerned about meeting certain deadlines imposed by

  the Article III judge if discovery were stayed for 7.5 months—the average length of time from

  filing a dispositive motion to its determination. Chavez, 2007 WL 683973, at *2. But here, the

  assigned Article III judge has not set any deadlines and discovery has already been stayed for six

  months. If Chavez’s estimate remains even approximately accurate, the remaining length of a

  stay needed to resolve the Secretary’s pending motion to dismiss will be negligible.

         Accordingly, the Court should grant the Secretary’s request to continue the stay of

  discovery and disclosures pending the outcome of the Secretary’s motion to dismiss.

                 C.      The public interest favors continuing the current stay of
                         discovery.

         Third, Plaintiffs claim, without citing authority, that the public interest will suffer if more

  elections are held before discovery takes place. Doc. 35 at 3. Even assuming this is a valid public
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  interest, Plaintiff ignores that the Secretary of State has already provided the data requested by

  Plaintiff, sourced from nonconfidential sources. See Doc. 23 at 5, 13-14; Doc. 28 at 10. Plaintiff

  is therefore already able to conduct its investigation without violating the strict federal

  confidentiality laws raised in the Secretary’s motion to dismiss. By contrast, moving ahead with

  discovery before the Secretary’s motion to dismiss is decided will violate the equally strong

  public interest in “[a]voiding wasteful efforts” by the Court and the parties. Hedin v. Amedisys

  Holding, L.L.C., No. 13-cv-02150-REB-KLM, 2013 WL 6075796, at *2 (D. Colo. Nov. 19,

  2013).

                                            CONCLUSION

           Each String Cheese factor weighs in favor of continuing the current stay of discovery and

  disclosures pending a decision on the Secretary of State’s fully briefed motion to dismiss. The

  Secretary therefore respectfully requests that this Court enter an order continuing the current stay

  of discovery and disclosures pending resolution of the Secretary’s motion.




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        Dated: September 1, 2022.

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